         Case 19-00505                     Doc 4            Filed 04/26/19 Entered 04/26/19 01:01:12                                    Desc Ch 7 First
                                                                Mtg I/J No POC Page 1 of 2
Information to identify the case:

Debtor 1:
                      Jody Ann Erichsen                                                          Social Security number or ITIN:       xxx−xx−8200
                                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name     Middle Name         Last Name

Debtor 2:                                                                                        Social Security number or ITIN: _ _ _ _
                      First Name     Middle Name         Last Name
(Spouse, if filing)                                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:           Northern District of Iowa                              Date case filed for chapter:             7      4/25/19

Case number:           19−00505
Official Form B309A (For Individuals or Joint Debtors)

Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                                    12/17


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered. This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines. Read both pages carefully. The filing of the case imposed an
automatic stay against most collection activities. This means that creditors generally may not take action to collect debts from
the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by
mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's
fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors can ask the court to
extend or impose a stay. The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a
discharge of any debts or who want to have a particular debt excepted from discharge may be required to file a complaint in the
bankruptcy clerk's office within the deadlines specified in this notice. (See line 9 for more information.) To protect your rights,
consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below
or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

NOTICE IS GIVEN that during the course of administration, the Chapter 7 trustee may sell, abandon, or otherwise dispose of
property, including the compromise or settlement of controversies, by filing a report of such intended action with the Clerk, with a
copy served upon the U.S. Trustee, debtor(s), debtor(s) counsel, and those creditors and equity security holders who have
requested notice pursuant to Rule 2002 of the Bankruptcy Rules. Any party requesting a notice pursuant to Rule 2002 must file
a request with the Clerk of the Bankruptcy Court specifically referring to Rule 2002 and shall serve a copy of that request for
notice upon debtor(s) counsel, trustee, and U.S. Trustee, at the addresses set forth in this notice. Any party objecting to such
action by the trustee shall file such objection with the Clerk of Bankruptcy Court, serving a copy on the moving party, trustee,
U.S. Trustee, debtor(s) and debtor(s) counsel within 21 days after the filing of such report.
To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court. Do not file this notice with any proof of claim or other filing in the case. Do not include more than
the last four digits of a Social Security or Individual Taxpayer Identification Number in any document, including
attachments, that you file with the court.

                                                         About Debtor 1:                                                   About Debtor 2:
1.      Debtor's full name                               Jody Ann Erichsen

 2.       All other names used in the
          last 8 years

 3.     Address                                          1645 Sunset Dr. SW
                                                         LeMars, IA 51031

 4.     Debtor's attorney                                Wilford L Forker                                                  Phone: 712−252−1395
                                                         Wilford L. Forker                                                 Email: forkerlaw@gmail.com
        Name and address                                 701 Pierce Street
                                                         Suite 303
                                                         Sioux City, IA 51101

 5.     Bankruptcy trustee                               Donald H. Molstad                                                 Phone: (712) 255−8036
                                                         701 Pierce St., Ste. 305                                          Email: judylaw@cableone.net
        Name and address                                 Sioux City, IA 51101
                                                                                                                                         For more information, see page 2 >
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                                                       Mtg I/J No POC Page 2 of 2
Debtor(s): Jody Ann Erichsen                                                                                                              Case Number: 19−00505 S

6. Bankruptcy clerk's office                                                                                 Hours open:
                                                                                                             Monday−Friday, 8:00 am to 4:30 pm CT
                                                  320 Sixth Street Rm 126
    Documents in this case may be filed at this   Sioux City, IA 51101
    address. You may inspect all records filed                                                               Phone: (712) 233−3939
    in this case at this office or online at                                                                 www.ianb.uscourts.gov
    www.pacer.gov.
                                                                                                             Date: 4/26/19


7. Meeting of creditors                           May 20, 2019 at 10:30 AM                                   Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a             Sioux City Convention Center, Main
    questioned under oath. In a joint case,       later date. If so, the date will be on the court docket.   Floor, Room 3, 801 Fourth Street,
    both spouses must attend. Creditors may
    attend, but are not required to do so.                                                                   Sioux City, IA 51101
                                                  All Individual Debtors must provide picture
                                                  identification and proof of social security number to
                                                  the trustee at the meeting of creditors. Failure to do
                                                  so may result in your case being dismissed.


8. Presumption of abuse                           The presumption of abuse does not arise.                   If the presumption of abuse arises, you may have
                                                                                                             the right to file a motion to dismiss the case under
                                                                                                             11 U.S.C. § 707(b). Debtors may rebut the
                                                                                                             presumption by showing special circumstances.


9. Deadlines                                      File by the deadline to object to discharge or to          Filing deadline:   7/19/19
                                                  challenge whether certain debts are
                                                  dischargeable:
    The bankruptcy clerk's office must receive                                                               You must file a motion:
    these documents and any required filing
    fee by the following deadlines.                                                                          • if you assert that the discharge should be
                                               You must file a complaint:                                    denied under § 727(a)(8) or (9).
                                               • if you assert that the debtor is not entitled to
                                               receive a discharge of any debts under any of the
                                               subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                               or
                                               • if you want to have a debt excepted from
                                               discharge under 11 U.S.C § 523(a)(2), (4), or (6).


                                                  Deadline to object to exemptions:                          Filing deadline: 30 days after the conclusion of
                                                  The law permits debtors to keep certain property as        the meeting of creditors
                                                  exempt. If you believe that the law does not
                                                  authorize an exemption claimed, you may file an
                                                  objection.

                                                  Certification About a Financial Management Course deadline: 7/19/19
                                                  Reaffirmation Agreement deadline: 7/19/19


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                  it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                  that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                  to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                  have any questions about your rights in this case.


12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                  distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                  the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                  exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.


    Appointment of Trustee and                    The trustee named in line 5 of this notice is the interim trustee appointed by the U.S. Trustee to serve
    Tax Returns                                   under general blanket bond. Per Section 521(e), individual debtor(s) are required to provide to the
                                                  trustee, no later than 7 days prior to the date set for the first meeting of creditors, a copy of the Federal
                                                  Income Tax return for the most recent tax year ending immediately before the commencement of the
                                                  case.


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